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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    Case No.: 1:13-cv-23285-DPG

  AUTOMOTORES GALINDO, S.A.,
         Plaintiff,

  v.

  FORD MOTOR COMPANY,
        Defendant.
  ________________________________/

                DEFENDANT FORD MOTOR COMPANY’S MOTION
       FOR SUMMARY JUDGMENT AND INCORPORATED MEMORANDUM OF LAW
  Pursuant to Federal Rule of Civil Procedure 56 and Local Rules 7.1 and 56.1, Defendant, Ford
  Motor Company (“Ford”), submits this motion for summary judgment and incorporated
  memorandum of law.
                                         INTRODUCTION
         This recognition action involves a Bolivian judgment obtained by Plaintiff in violation of
  an express contractual provision mandating that all disputes between the parties be arbitrated
  exclusively before the American Arbitration Association in Michigan, under Michigan law.
  Despite Ford’s repeated attempts to enforce the agreement, Bolivian courts over a period of
  seven years disregarded the parties’ forum-selection clause and permitted a local plaintiff to
  proceed in a forum from which he was contractually barred.
         Ford has asserted two objections to the recognition of the Bolivian judgment pursuant to
  Florida’s Uniform Out-of-Country Foreign Money Judgment Recognition Act (“Florida
  Recognition Act” or “Uniform Act”) – (1) under section 55.605(2)(e), because the maintenance
  of the Bolivian action “was contrary to an agreement between the parties under which the dispute
  in question was to be settled otherwise than by proceedings in that court;” and (2) under section
  55.605(1)(c), for lack of subject matter jurisdiction in the Bolivian court. [DE 5]. This motion is
  based only on the first ground.
         As demonstrated below, there are no genuine issues of material fact and Ford is entitled
  to judgment as a matter of law. Plaintiff’s arguments in support of recognition are legally
  unsound and immaterial.
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                                     STATEMENT OF FACTS
           Ford incorporates here by reference the statement of undisputed material facts (“Rule
  56.1 Stat.”) that it contemporaneously filed under Local Rule 56.1. 1
                                            ARGUMENT
           A.     Summary Judgment Standard
           Ford recognizes that the Court is well aware of the applicable summary judgment
  standard. See, e.g., United States v. Deverson, No. 14-61523-Civ, 2014 WL 5463894, at *1
  (S.D. Fla. Oct. 27, 2014). This standard is amply met here, as the purported issues raised by
  Plaintiff in its Response to Ford’s Objections to Recognition (“Response”) [DE 32] are neither
  genuine nor material. They are at best peripheral to the very limited issue in this recognition
  proceeding.
           B.     Standard for Recognition of Foreign Judgments
           “The recognition of foreign judgments in Florida is governed by the Florida Recognition
  Act, Fla. Stat. §§ 55.601-55.607, a variant of the Uniform Money-Judgments Recognition Act,
  which Florida adopted in 1994.” Osorio v. Dole Food Co., 665 F. Supp. 2d 1307, 1322 (S.D.
  Fla. 2009), aff’d sub nom., 635 F.3d 1277 (11th Cir. 2011), cert. denied, 132 S. Ct. 1045 (2012);
  see also Nadd v. Le Credit Lyonnais, S.A., 804 So. 2d 1226, 1228 (Fla. 2001). “[E]ven though
  the Florida Recognition Act presumes that foreign judgments are prima facie enforceable, the
  Act is clearly also designed to preclude Florida courts from recognizing foreign judgments in
  certain prescribed cases where the legislature has determined that enforcement would be unjust
  or inequitable to domestic defendants.” Osorio, 665 F. Supp. 2d at 1323. To that end, section
  55.605 “provides three mandatory and eight discretionary grounds on which a foreign judgment
  is not entitled to recognition.” Osorio II, 635 F.3d at 1278. The party seeking enforcement has
  the initial burden of proof that the judgment is final, conclusive, and enforceable where rendered
  – in this case, Bolivia. Once met, the burden shifts to defendants to establish one or more
  grounds for non-recognition under section 55.605. See Kramer v. von. Mitschke-Collande, 5
  So. 3d 689, 690 (Fla. 2d DCA 2008); Israel v. Flick Mortgage Investors, Inc., 23 So. 3d 1196,
  1197-98 (Fla. 3d DCA 2008).



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   This memorandum of law contains the same terms that are capitalized and defined in the Rule
  56.1 Statement.


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           Ford’s objection to recognition is based on two of the grounds enumerated in the Uniform
  Act – one “mandatory” and one “discretionary.” [DE 5; DE 6]. The mandatory ground is set
  forth in section 55.605(1)(c), and provides that a “foreign judgment is not conclusive if … [t]he
  foreign court did not have jurisdiction over the subject matter.” The discretionary ground – and
  one on which this motion is based – is contained in section 55.605(2)(e), and provides that “a
  foreign judgment need not be recognized if … [t]he proceeding in the foreign court was contrary
  to an agreement between the parties under which the dispute in question was to be settled
  otherwise than by proceedings in that court.” Both of these grounds for non-recognition are
  predicated on the undisputable fact that the Bolivian action was commenced and maintained in
  direct violation of the forum-selection provision in the Global Importer Dealer Sales and Service
  Agreement (“GIDS Agreement”).
           C.     Courts Are Uniform in Denying Recognition Where the Foreign Judgment Is
                  Obtained in Violation of the Parties’ Choice-of-Forum Agreement

           Courts across the country that have addressed this issue under the Uniform Act, including
  this Court, agree that a failure by the foreign court to honor the parties’ forum-selection
  agreement results in automatic non-recognition of the foreign judgment.
           Nicor International Corp. v. El Paso Corp., 292 F. Supp. 2d 1357 (S.D. Fla. 2003),
  reconsideration denied, 318 F. Supp. 2d 1160 (S.D. Fla. 2004), is particularly instructive. As in
  this case, Nicor involved an exclusive arbitration clause in the parties’ agreement. The plaintiff
  commenced a legal action in the Dominican Republic, claiming that the defendant had waived
  his contractual right to arbitration. A Dominican appellate court agreed and the case proceeded
  to a “sentence” of liability against the defendant. See 292 F. Supp. 2d at 1361-63. Among the
  issues considered by Judge Marra of this Court was whether the Dominican proceeding was
  contrary to the parties’ agreement, and, if so, whether the Dominican “sentence” ought not to be
  recognized under the Florida Recognition Act. After disposing of the issue of the “waiver,” the
  Nicor court stated:
           Based upon the foregoing, the Court finds that El Paso/Coastal has met its burden
           of proving that the proceeding in the Dominican courts was contrary to the
           binding Arbitration Provision in the parties’ PSA, which, as determined by the
           Sole Arbitrator in the arbitration proceeding, was not waived.[2] Pursuant to the


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   Nicor also involved a parallel arbitration proceeding commenced by the defendant while the
  Dominican action was pending.


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           Uniform Act, therefore, the “judgment” issued by the Dominical court need not be
           recognized by this Court.

  Id. at 1371. This Court therefore granted summary judgment in favor of the defendant.
           Montebueno Marketing, Inc. v. Del Monte Foods Corp., No. CV 11-4977 MEJ, 2012 WL
  986607 (N.D. Cal. Mar. 22, 2012), aff’d, 750 Fed. App’x 675 (9th Cir. 2014), dealt with a
  Philippine judgment issued in contravention of the parties’ agreement to arbitrate their disputes.
  The court, relying on California’s version of the Uniform Act, refused recognition.            The
  Montebueno court stated:
           This part of the [California] UFMJRA provides that the Court may refuse to
           recognize a foreign money judgment if “[t]he proceeding in the foreign court was
           contrary to an agreement between the parties under which the dispute in question
           was to be determined otherwise than by proceedings in that foreign court.” Cal.
           Code of Civ. Pro. § 1716(c)(5). That is exactly the case here. As Judge Jenkins
           ruled in 1999, the parties' original contract contained a valid and enforceable
           arbitration clause that required Montebueno and Del Monte to arbitrate their
           dispute in San Francisco. The proceedings in the Philippines were therefore
           contrary to an agreement between the parties to arbitrate here, and, under Section
           1716(c)(5), the Court may exercise its discretion and refuse to recognize the
           foreign judgment.

  Id. at *1 (footnote omitted). The court thus refused to recognize the Philippine judgment.
           Tyco Valves & Controls Distribution GMBH v. Tippins, Inc., No. CIV A 04-1626, 2006
  WL 2924814 (W.D. Pa. Oct. 10, 2006), was decided under Pennsylvania’s version of the
  Uniform Act, which contains a provision identical to section 55.605(2)(e). Tyco dealt with the
  question of whether a judgment issued by a German court should be recognized given the
  parties’ agreement to arbitrate their disputes. The court answered in the negative, stating:
           Because the German proceeding was contrary to the parties’ agreement to
           arbitrate, we decline to enforce it here. Pursuant to the Pennsylvania UFJRA, we
           need not recognize a foreign judgment if “the proceeding in the foreign court was
           contrary to an agreement between the parties under which the dispute was to be
           settled otherwise than by proceedings in that court.” 42 P.S. §§ 22005(5). As
           such, defendant’s motion for summary judgment is granted, and plaintiff’s
           complaint seeking enforcement of the German judgment is hereby dismissed.

  Id. at *7.
           Diamond Offshore (Bermuda), Ltd. v. Haaksman, 355 S.W.3d 842 (Tex. App. 2011), was
  decided under Texas’ version of the Uniform Act, which contains a provision identical to section
  55.605(2)(e). In Diamond, the parties’ agreement contained an exclusive forum-selection clause


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  requiring all disputes to be resolved before the courts of Bermuda. The plaintiffs commenced
  litigation in the Netherlands instead, obtaining judgments there, which they sought to have
  recognized by a Texas court. The issue before the court was thus the same as in Nicor, except
  that the relevant forum-selection clause did not provide for arbitration; instead, it required
  litigation in a different jurisdiction. In reversing the lower court’s recognition of the Dutch
  judgments, the appellate court held the forum-selection clause encompassed the claims brought
  in the Netherlands and, for that reason, the Dutch judgments were not recognized. Id. at 849; see
  also Courage Co., LLC v. Chemshare Corp., 93 S.W.3d 323, 330-39 (Tex. App. 2002) (refusing
  recognition of a Japanese court’s judgment where the parties had agreed to arbitrate their
  disputes).
           The above authorities demonstrate that U.S. courts deny recognition of foreign judgments
  when they are rendered contrary to the parties’ forum-selection agreements. Indeed, through its
  research, Ford has been unable to find a single case in which the court recognized a foreign
  judgment issued in disregard of the parties’ choice of forum.
           The underpinning of these decisions is the long-standing policy of federal courts favoring
  arbitration and honoring the parties’ contractual commitments to submit their disputes to
  arbitration. See, e.g., Seaboard Coast Line R.R. Co. v. Trailer Train Co., 690 F.2d 1343, 1348
  (11th Cir. 1982) (“federal policy favor[s] arbitration … [and] requires that we construe
  arbitration clauses generously, resolving all doubts in favor of arbitration”); Ivax Corp. v. B.
  Braun of Am., Inc., 286 F.3d 1309, 1315 (11th Cir. 2002) (“the Supreme Court has commanded
  that questions of arbitrability must be addressed with a healthy regard for the federal policy
  favoring arbitration” (quotations marks and citations omitted)).       State courts hold likewise.
  Michigan law – which governs the GIDS Agreement and the interpretation of the forum-
  selection clause’s meaning 3 – maintains a particularly strong policy favoring arbitration. See
  Rembert v. Ryan’s Family Steak Houses, Inc., 596 N.W.2d 208, 212 (Mich. Ct. App. 1999)
  (“Our Legislature has expressed a strong public policy favoring private voluntary arbitration, and
  our courts have historically enforced agreements to arbitrate disputes.”).



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   See, e.g., Lanier v. Syncreon Holdings, Ltd., No. 11-14780, 2012 WL 3475680, at *6 (E.D.
  Mich. Aug. 14, 2012) (the meaning of a forum-selection clause is a “substantive matter,”
  governed by “the law of the contract”); Global Link, LLC v. Karamtech Co., Ltd., No. 06-CV-
  14938, 2007 WL 1343684, at *2 (E.D. Mich. May 8, 2007).


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            Courts emphasize that arbitration-selection clauses are to be read and interpreted like all
  other contractual clauses. “[T]he question of whether a contract’s arbitration clause requires
  arbitration of a given dispute remains a matter of contract interpretation.” Seaboard, 690 F.2d at
  1383. As such, it is governed by the intent of the parties. Id. “[T]he parties’ intent regarding the
  finality of arbitration should be ascertained by the usual rules of interpretation and given effect.”
  Rembert, 596 N.W.2d at 213. See also P & S Bus. Machs., Inc. v. Canon USA, Inc., 331 F.3d
  804, 807 (11th Cir. 2003) (“The validity [and scope] of a forum selection clause [are] determined
  under the usual rules governing the enforcement of contracts in general.” (citations omitted));
  City of Ferndale v. Florence Cement Co., 712 N.W.2d 522, 526 (Mich. Ct. App. 2006) (“An
  agreement to arbitrate is a contract. The cardinal rule in the interpretation of contracts is to
  ascertain the intention of the parties.” (citations omitted)).
            D.     The Bolivian Judgment Was Issued in Direct Violation of the Parties’
                   Agreement to Arbitrate Their Disputes

            The only issue relevant to Ford’s claim of non-recognition is whether, in the express
  language of section 55.605(2)(e), “the proceeding in [Bolivia] was contrary to an agreement
  between the parties under which the dispute in question was to be settled otherwise than by
  proceedings in that court.” To break it down further, the relevant issues are: (a) whether the
  dispute that was the subject of the Bolivian litigation was governed by a written agreement
  between Galindo and Ford; and (b) whether that agreement contained a mandatory provision
  calling for resolution of all disputes in a forum other than the Bolivian courts. If both questions
  are answered in the affirmative, then Ford is entitled to judgment of non-recognition as a matter
  of law.
            The following is undisputed: Plaintiff was Ford’s authorized dealer in Bolivia, pursuant
  to the GIDS Agreement executed by the parties in April 1999. [Rule 56.1 Stat. ¶ 1]. The GIDS
  Agreement contains an exclusive arbitration clause requiring all disputes between Ford and
  Galindo to be submitted to arbitration before the American Arbitration Association, under
  UNCITRAL Arbitration Rules, to be conducted in Michigan under the substantive and
  procedural law of that state. [Rule 56.1 Stat. ¶¶ 7, 8]. Ford terminated the GIDS Agreement in
  February 2002. [Rule 56.1 Stat. ¶ 9]. Ignoring the mandatory forum-selection clause in the
  GIDS Agreement, Plaintiff commenced a legal action in Bolivia in August 2002. [Rule 56.1
  Stat. ¶ 10]. Despite Ford’s repeated objections to the Bolivian courts’ jurisdiction to hear the



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  case (based on the exclusive arbitration clause), Bolivian courts refused to honor the GIDS
  Agreement’s forum-selection clause and ultimately issued a judgment against Ford in the amount
  of $11,103,852.60. [Rule 56.1 Stat. ¶¶ 13-31]. Thus, the only factual issues that are relevant to
  this recognition proceeding are uncontested and Ford is entitled to judgment of non-recognition
  as a matter of law.
           While it is unnecessary for this Court to go beyond the four corners of the GIDS
  Agreement and delve into the decisions of the Bolivian courts in order to deny recognition here,
  the erroneous reasoning of those decisions is instructive, as it amplifies the very reason behind
  the inclusion of the choice-of-forum exception in the Uniform Act: to prevent situations in
  which a foreign company – having negotiated and agreed to a forum-selection provision in its
  agreement with a U.S company – elects to disregard that agreement and, as happens not
  infrequently, finds local courts willing to oblige.
           To reiterate, the first instance judge ruled that because Ford had terminated the GIDS
  Agreement, the arbitration provision contained in it was likewise terminated and could not be
  enforced by Ford. [Rule 56.1 Stat. ¶¶ 15-16]. The court reached this conclusion notwithstanding
  (a) that Bolivian law expressly provides that “any arbitral agreement included in a main contract
  shall be considered as an independent agreement from the other provisions contained therein;”4
  [Rule 56.1 Stat. ¶ 18] (b) that the arbitration clause expressly applied to the “termination” of the
  GIDS Agreement; [Rule 56.1 Stat. ¶ 7] and (c) that the GIDS Agreement was, by its terms,
  governed by Michigan, not Bolivian, law. [Rule 56.1 Stat. ¶¶ 7-8]. 5



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      All emphasis is supplied unless otherwise noted.
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   For obvious reasons (and consistent with the Bolivian statute disregarded by the Bolivian court)
  under governing Michigan law, dispute-resolution provisions survive termination of the
  underlying contract. See PFS Invs., Inc. v. Imhoff, No. 11-10142, 2011 WL 1135538, at *8 (E.D.
  Mich. Mar. 25, 2011) (“The Court … presumes that the arbitration clause survives the
  Agreement’s termination[;]” “We presume as a matter of contract interpretation that the parties
  did not intend a pivotal dispute resolution provision to terminate for all purposes upon the
  expiration of the agreement.” (quoting Litton Fin. Printing Div. v. NLRB, 501 U.S. 190,
  204(1991)). The same holds true in other states. See, e.g., Marcotte v. Micros Sys. Inc., No. C
  14-01372 LB, 2014 WL 4477349, at *9 (N.D. Cal. Sept. 11, 2014) (“Dispute resolution
  provisions presumptively survive termination of contract.”); 13 CORBIN ON CONTRACTS, § 67.2
  (rev. ed. 2003 & Supp. 2011). If a dispute-resolution clause mandating the arbitration of
  disputes that arise out of the contract’s “termination” does not survive such termination, the
  result would be an absurdity. Cf. Certified Restoration Dry Cleaning Network, LLC v. Tenke


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           On Ford’s first appeal, the court, after two years of deliberation, ruled, without
  addressing the merits of the case, that the decision of the court below was not appealable as a
  matter of law. [Rule 56.1 Stat. ¶ 19].     On Ford’s second appeal, the Bolivian Constitutional
  Court, again without addressing the merits of Ford’s argument, rejected the appeal on the
  grounds that the government official who had legalized the documents that were filed by Ford
  was merely the official who is the “legal depository” of documents, and not “the officer in
  charge of the Registry of Commerce,” and moreover, that Ford’s legal counsel’s power of
  attorney did not expressly authorize him to represent Ford in the Constitutional Appeal. [Rule
  56.1 Stat. ¶¶ 22]. On the final review by the Constitutional Tribunal, that court, yet again
  without dealing with the merits of Ford’s argument, ruled that Ford had failed to submit proof of
  its legal existence, as well as documents demonstrating the constitution of its board, a list of its
  board members and proof of the “election of its legal representatives, and Ford’s internal rules
  that authorize the designation of its legal representative.” [Rule 56.1 Stat. ¶ 27]. In sum, and at a
  minimum, these decisions demonstrate a willingness on the part of the Bolivian courts to
  accommodate a local plaintiff at the expense of the contractual rights of a foreign defendant.
           E.     Plaintiff’s Recognition Arguments Are Untenable and Raise No Genuine
                  Issue of Material Fact

           In its Response, Plaintiff makes several arguments in favor of recognition [DE 32].
  These arguments: first, ignore the Uniform Act, the only statute that governs this recognition
  proceeding; second, are wrong on the law; and, third, raise issues that are neither genuine nor
  material. 6
                  1.     Plaintiff Misapplies the Principles of International Comity
           As stated in Nicor, 292 F. Supp. 2d at 1364, “[t]he Uniform Act replaces the common law
  principles for recognizing foreign judgments, but only to the extent of any differences between
  the Act and the common law.” As the court explained, the fundamental difference between
  common law comity and the Uniform Act is that a comity analysis consists of only three factors


  Corp., 511 F.3d 535, 545 (6th Cir. 2007) (under Michigan law, contracts must be construed
  consistent with common sense and in a manner that avoids absurd results).
  6
    Ford does not address the arguments in Plaintiff’s Response that go to the issue of the Bolivian
  court’s subject matter jurisdiction. While these arguments are equally unavailing to Plaintiff,
  they do not pertain to this motion, which is limited to Ford’s objection based on the parties’
  choice of forum under section 55.605(2)(e).


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  – fraud, competence of foreign court and the forum’s public policy – while the Uniform Act
  provides for eleven specific grounds for non-recognition, which are contained in sections
  55.605(1) and 55.605(2). See id. at 1364-71. Thus, under the pre-Uniform Act common law, a
  failure of the foreign court to honor the parties’ agreement to litigate or arbitrate in another
  forum did not strictly speaking fall within the comity elements (although, courts of course had
  the discretion to refuse to recognize it as inconsistent with the forum’s “public policy”).
  However, under the Uniform Act, as adopted in Florida and most other states, the fact that the
  “proceeding in the foreign court was contrary to an agreement between the parties under which
  the dispute in question was to be settled otherwise than by proceedings in that court” is a basis
  for non-recognition of a money judgment. Fla. Stat. § 55.605(2)(e). Because Plaintiff’s entire
  argument is predicated on ignoring the Uniform Act and focusing on inapplicable comity
  principles it fails at the outset.
           To be sure, comity has not been rendered irrelevant by the Uniform Act’s enactment.
  Comity still applies in a multitude of situations. For example, since the Uniform Act applies to
  foreign money judgments only, foreign non-money judgments, such as injunctions and
  declaratory judgments, are subject to the traditional comity analysis. Comity analysis also
  applies to the so-called abstention doctrine, which involves deference by U.S. courts to foreign
  courts’ rulings on particular issues, such as often arise in the context of parallel proceedings. But
  when it comes to the issue of recognition of foreign money judgments, in all thirty-four states
  that have enacted the Uniform Act, the principles of comity are superseded by the statutory
  language.
           Given that Plaintiff misses this basic dichotomy between comity and the Uniform Act,
  the cases it cites are utterly inapplicable.
           Belize Telecom, Ltd. v. Gov’t of Belize, 528 F.3d 1298 (11th Cir. 2008), dealt with the
  issue of abstention, not with recognition of a money judgment. The case involved parallel
  proceedings between the same parties in the courts of Florida and Belize. Both actions were for
  declaratory relief. When the Belize court ruled first on a particular issue, which was also in
  dispute before the Florida court, the latter was faced with the question of whether it should, as a
  matter of comity, abstain from making its own determination and instead defer to the Belize
  court’s ruling. The Court of Appeals held that abstention was indeed appropriate, particularly
  given that the “case involves the interpretation of the articles of association of a Belizean



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   corporation pursuant to Belize law.” Id. at 1307. Belize Telecom thus had nothing to do with the
   question of recognizing a foreign money judgment under the Uniform Act. This was a basic
   abstention case. Indeed, the fact that the Belize action was for declaratory relief and not money
   damages automatically took the matter outside the scope of the Uniform Act.
            Nahar v. Nahar, 656 So. 2d 225 (Fla. 3d DCA 1995), involved a multi-jurisdictional
   estate dispute, with proceedings in Florida and the Netherlands. Among the issues presented to
   the Florida court was whether a “Dutch court’s order which held that [the decedent] was a
   domiciliary of Aruba and that his estate was governed by Dutch law,” should be afforded comity
   treatment. Id. at 229. The court held that comity should be afforded to the Dutch order. As was
   the case in Belize Telecom, Nahar had nothing to do with recognition of a foreign money
   judgment. The Dutch ruling concerning the decedent’s domicile was declaratory, for which a
   comity analysis was fully warranted.
            Daewoo Motor Am., Inc. v. Gen. Motors Corp., 459 F.3d 1249 (11th Cir. 2006), like the
   prior two cases, was not a proceeding to recognize a foreign money judgment. Rather, it
   involved an action for damages brought in a California bankruptcy court (transferred to the
   Middle District of Florida by the Multidistrict Litigation Panel), in which the issue was whether
   the district court should defer to a prior decision of a Korean bankruptcy court which had
   approved a sale of the assets and liabilities of the plaintiff’s Korean parent. As the Court of
   Appeals put it: “The principle of international comity applied in this case is an abstention
   doctrine.” Id. at 1256. Like Belize Telecom, Daewoo Motor was an abstention case to which a
   common law comity analysis applied.
            Because the abstention doctrine is not remotely implicated in the instant case, Plaintiff’s
   reliance on comity principles is misplaced. This action is governed solely by the Uniform Act.
                   2.      Principles of Comity Do Not Apply to the Bolivian Rulings on the
                           Validity of the Arbitration Clause

            Relying once again on Belize Telecom, Nahar and Daewoo Motor, Plaintiff argues that
   the rulings of the several Bolivian courts concerning the parties’ choice-of-forum agreement
   should be given deference under the principles of comity. [DE 32, pp. 10-13].
            Apparently recognizing that common law comity does not govern proceedings to
   recognize foreign money judgments in Florida – or in any other state that has enacted the
   Uniform Act – Plaintiff offers a novel “solution.” Plaintiff states: “The rulings of foreign courts



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   which are not themselves money judgments are entitled to deference in Florida under the
   doctrine of comity.” [DE 32, p. 10]. That is, Plaintiff appears to say that although a foreign
   money judgment itself may not be recognizable under the Uniform Act, the various rulings of the
   foreign court that led to this otherwise non-recognizable judgment are entitled to comity-based
   deference. Applied here, this would mean that even while the Bolivian Judgment is not subject
   to recognition under section 55.605(2)(e) because the Bolivian proceeding “was contrary to an
   agreement between the parties under which the dispute in question was to be settled otherwise
   than by proceedings in that court,” a ruling by the Bolivian court expressly rejecting that very
   agreement is entitled to comity. Thus, under Plaintiff’s circular theory, a judgment not subject to
   recognition under section 55.605(2)(e) becomes recognizable under principles of comity.
            There is not a single case supporting such a view. Indeed, every court that has dealt with
   this issue appears to have reached the opposite conclusion. For example, in Nicor, 292 F. Supp.
   2d at 1362, a Dominican court had ruled that the parties’ arbitration agreement was ineffective
   because the defendant had “renounced” arbitration. Judge Marra had no trouble concluding that
   the Dominican proceeding was contrary to the parties’ agreement and refused to recognize the
   Dominican judgment under the Uniform Act. Id. at 1367. No comity to the Dominican court’s
   ruling was extended. Likewise, in Courage Co., 93 S.W.3d at 338, the Japanese court’s ruling
   rejecting the defendant’s jurisdictional defense was afforded no comity treatment, and the
   appellate court refused recognition of the Japanese judgment under the Uniform Act. Osorio
   also involved an adverse jurisdictional decision by a Nicaraguan court, which decision ultimately
   led to the money judgment. Judge Huck extended that jurisdictional ruling no comity and held
   the Nicaraguan judgment to be in violation of the Uniform Act. 665 F. Supp. 2d at 1318. The
   Eleventh Circuit affirmed. 635 F.3d 1277.
            Taken to its logical conclusion, Plaintiff’s argument would eviscerate the very purpose of
   section 55.605(2)(e). If comity is extended to the Bolivian court’s ruling negating the parties’
   exclusive and mandatory forum-selection agreement – an agreement governed by Michigan law
   that Plaintiff does not dispute signing – section 55.605(2)(e) would have no meaning. It speaks
   volumes that Plaintiff cannot cite a single case in which a judgment rendered in violation of
   section 55.605(2)(e) (or its equivalents under the Uniform Act) has been recognized and
   enforced. Ford is likewise unaware of any such decision.




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            Because Plaintiff’s comity argument is untenable, Plaintiff’s discussion of the three
   comity factors is of no moment. [DE 32, pp. 11-13]. Whether Ford has had “an opportunity to
   be heard,” whether the Bolivian court had personal jurisdiction over Ford, and whether the public
   policy of Florida is affected are all proper elements in a comity analysis, but they have no
   bearing on the non-recognition of the judgment under section 55.605(2)(e). And most certainly
   none of them raise genuine issues of material fact warranting a denial of summary judgment.
                   3.      Bolivian Rulings Rejecting the Parties’ Agreement to Arbitrate Are
                           Not Entitled to Res Judicata Treatment

            Plaintiff claims that the Bolivian courts’ rulings are res judicata. [DE 32, pp. 13-15].
   Plaintiff is equally incorrect on this point.
            It is worth reiterating here what the Bolivian courts actually ruled. The first instance
   court ruled that because Ford had terminated the GIDS Agreement, the choice-of-forum
   provision contained in it was likewise terminated and could not be enforced by Ford. [Rule 56.1
   Stat. ¶¶ 15-16]. On Ford’s first appeal, the court ruled that the decision of the court below was
   not appealable as a matter of law. [Rule 56.1 Stat. ¶ 19]. On Ford’s second appeal, the Bolivian
   constitutional court ruled that the official who had legalized the documents filed by Ford’s was
   not the officer in charge of the registry of commerce, and that Ford’s counsel’s power of attorney
   did not expressly authorize him to represent Ford. [Rule 56.1 Stat. ¶¶ 22-23]. On the final
   review, the constitutional tribunal court ruled that Ford had failed to submit proof of its legal
   existence and failed to provide a list of its board members, and proof of the “election of its legal
   representative.”     [Rule 56.1 Stat. ¶¶ 26-27]. None of the courts addressed the merits of
   Galindo’s claim against Ford.
            In support of its res judicata argument, Plaintiff cites three decisions. In Marolax
   Handles-Und Verwaltungesellschaft MbH v. 898 5th Ave. S. Corp., No. 2:06-cv-691-FtM-29SPC,
   2008 WL 1776996 (M.D. Fla. Apr. 16, 2008), the defendant objected to the recognition of a
   German judgment on the grounds of lack of personal jurisdiction over him by the German court
   and also on fraud committed on the German court. The magistrate’s report and recommendation,
   which was adopted by the district judge, demonstrates that far from treating the German court’s
   ruling concerning personal jurisdiction as res judicata, the magistrate conducted a hearing and
   made his own findings of fact. As stated by the district court: “The Magistrate Judge found that
   898 Fifth Avenue submitted itself to the jurisdiction of the German court by voluntarily



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   submitting to a German venue and German law.” Id. at *3. Further, “[t]he Magistrate Judge
   found at least constructive knowledge of the proceedings based on service of Interbuilding, and
   found that Mr. Schache chose not to respond.” Id. at *4. With respect to defendant’s fraud
   argument, the magistrate did appear to defer, at least in part, to the German court’s factual
   finding that no fraud on it was committed. The case has no application here because Ford is not
   objecting to the Bolivian judgment on the grounds of fraud or lack personal jurisdiction (both of
   which have their own separate and well-developed areas of law under the Uniform Act), but on
   the exclusive choice-of-forum provision, which involves only two issues: Did the parties have a
   valid forum-selection agreement and was the proceeding in Bolivia contrary to that agreement.
   ICC Chemical Corp. v. TLC Indus. (Malaysia) SDN, 206 F. App’x 68 (2d Cir. 2006), does deal
   with a choice-of-forum agreement. But the point of that case is that the agreement at issue did
   not contain an alternate forum provision on which the defendant could base his objection to
   recognition. In ICC, the seller initially proposed a purchase agreement that contained a New
   York arbitration clause. As the court stated: “Of import here, when [the buyer] returned the
   signed agreement, it altered the arbitration provision as to the choice of law and venue.” Id. at
   69. The signed agreement thus provided for litigation in Singapore. Ultimately, the seller failed
   to deliver and the buyer sued in Singapore. The Singapore court ruled that, as executed, the
   agreement did not contain an arbitration provision. The Second Circuit chose not to disturb this
   factual funding, noting that “the ICC does not dispute that the Singapore Court had subject
   matter jurisdiction to rule on the threshold question of whether ICC and TLC actually agreed to
   arbitrate in New York.” Id. at 70.
            ICC is fundamentally different from this case. First, and most important, unlike in ICC,
   it is uncontested here that the GIDS Agreement calls for exclusive arbitration in Michigan under
   Michigan law, and Plaintiff does not even suggest otherwise. Second, unlike the Singapore court
   in ICC, the Bolivian court did not make a factual finding that the GIDS Agreement, as executed,
   did not call for arbitration in Michigan. Rather, the Bolivian court ruled that the arbitration
   clause was void under Bolivian law, even thought the GIDS Agreement by its express terms was
   governed by Michigan law. Thus, unlike in ICC, there is no factual finding of the Bolivian court
   for this Court to defer to even if it were inclined to do so. Third, unlike in ICC, Ford most
   certainly did not consent to have the Bolivian court determine the validity and scope of the
   arbitration clause. That issue is governed solely by Michigan law, the law of the contract. See,



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   e.g., Lanier v. Syncreon Holdings, Ltd., No. 11-14780, 2012 WL 3475680, at *6 (E.D. Mich.
   Aug. 14, 2012) (the meaning of a forum-selection clause is a “substantive matter,” governed by
   “the law of the contract”); Global Link, LLC v. Karamtech Co., Ltd., No. 06-CV-14938, 2007
   WL 1343684, at *2 (E.D. Mich. May 8, 2007).
            Finally, Plaintiff relies on Israel v. Flick Mortgage Investors, Inc., 23 So. 3d 1196 Fla. 3d
   DCA 2008). At issue in that case was the recognition of an Israeli judgment. The judgment
   debtor argued that service of process on him in the Israeli action was improper. The court, after
   analyzing the relevant provisions of the Uniform Act, concluded that the judgment debtor did not
   interpose an objection to recognition that is appropriate under the Uniform Act. The court stated
   that “an attack on the manner of service of process is not expressly set forth as one of the ten
   grounds for nonrecognition or nonenforceability that may be asserted under the [Uniform] Act.”
   Id. at 1198. The court then held that even if the objection to the service of process was proper
   under the Uniform Act, the judgment debtor had waived this objection by not raising it in the
   Israeli action.        In this regard, the court stated the obvious point that “[g]rounds for
   nonrecognition [under the Uniform Act] may be waived if a party had the right to assert that
   ground as an objection of defense in the foreign country but failed to do so.” Id. at 1199.
            Israel is thus inapposite. Unlike in that case, here, Ford has asserted an objection that is
   “expressly set forth [in the Uniform Act] as one of the ten grounds for nonrecognition” – namely
   that “the proceeding in [Bolivia] was contrary to an agreement between the parties under which
   the dispute in question was to be settled otherwise than proceedings in that court.” Fla. Stat. §
   55.605(2)(e). Furthermore, it is indisputable that Ford had raised this objection before the
   Bolivian courts and thus had not “waived” it.
            In sum, Plaintiff’s res judicata argument is as unsupportable as its comity-based
   argument, and, as with the previous arguments, it raises no genuine issues of material fact
   warranting denial of summary judgment.
                     4.      Ford is Not Collaterally Estopped From Asserting Its Rights Under
                             Section 55.605(2)(e)

            Plaintiff’s collateral estoppel defense [DE 32, pp. 15-16] is a rehashing of its comity
   defense. Collateral estoppel is equally inapplicable to an action for recognition of a foreign
   money judgment under the Uniform Act. Plaintiff does not cite a single case in which a foreign
   money judgment debtor was deemed collaterally estopped from asserting its objections under the



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   Uniform Act. The only case cited by Plaintiff that involved a decision of a foreign court is King
   v. Cessna, No. 03-20482-CIV, 2010 WL 5253526 (S.D. Fla. Sept. 13, 2010). King, however,
   was not a foreign money judgment recognition action. Rather, like Belize Telecom and Daewoo
   Motor, King was an abstention case. The issue in King was whether in an action for damages
   brought in Florida the court should defer to prior rulings of an Italian court in an earlier action
   between the same parties for the same damages. The King court correctly analyzed the deference
   question as one of comity, although it chose to couch its conclusion in the language of collateral
   estoppel. But fundamentally, the case is indistinguishable from all other abstention cases to
   which comity analysis applies as a matter of course. It has no bearing on this recognition action
   and raises no genuine issue of material fact.
                   5.      Ford Has Not Waived Its Objection Under Section 55.605(2)(e)
            Plaintiff’s waiver argument [DE 32, pp. 16-18] rests on the proposition that, having been
   sued in Bolivia in violation of the choice-of-forum agreement, Ford had an obligation to
   commence arbitration in Michigan or risk waiving its right under section 55.605(2)(e). Since
   Ford had no claims of its own to assert under the GIDS Agreement, Plaintiff contention, it would
   seem, is that it was incumbent on Ford to commence a defensive arbitration, seeking a
   declaration that it was not liable to Plaintiff. There is no law that supports this.
            It is not disputed that arbitration clauses, like all other contractual provisions, can be
   waived. The cases cited by Plaintiff stand for the unremarkable proposition that when a party
   conducts itself in a manner inconsistent with its right to arbitrate, that right under certain
   circumstances may be deemed waived. These and other such decisions are predicated on the
   principle that when a party substantially participates in litigation to a point inconsistent with an
   intent to arbitrate and when such participation results in prejudice to the opposing party, the
   result will be a waiver of the contractual right to arbitrate.
            In Triplecheck, Inc. v. Creole Yacht Charters Ltd., No. 05-21182-CIV, 2006 WL
   3507971 (S.D. Fla. Dec. 5, 2006), plaintiff brought an action, participated in it substantively,
   including conducting substantial discovery and filing a summary judgment motion.              Then,
   having never before invoked its right to arbitration and after indicating to the court that it was
   ready to proceed to trial, plaintiff changed its mind and sought to compel arbitration. The court
   correctly concluded that plaintiff had waived its right to arbitrate.




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            In Garcia v. Wachovia Corp., 699 F.3d 1273 (11th Cir. 2012), a class-action defendant,
   having litigated the case on the merits without invoking its right to arbitrate; having declined two
   invitations by the court to move to compel arbitration; and having filed dispositive motions
   without raising the arbitration issue, reversed course after a favorable Supreme Court decision
   and sought arbitration. The court held that the arbitration right was waived.
            In Morewitz v. W. of England Ship Owners Mut. Prot. & Indem. Ass’n (Luxembourg), 62
   F.3d 1356 (11th Cir. 1995), the court held that an insurer waived its contractual right to compel
   arbitration with the insured where it had been apprised that significant monetary claims were
   being pursued, and, in fact, had defended at least one of them, yet never made demand to
   arbitrate coverage.
            As is evident, the common factor in these and most such cases is that a party does not
   raise the issue of arbitration for a long time while it litigates the merits of the case and then
   changes its mind.
            The facts in this case are starkly different. Ford’s only participation in the Bolivian
   action was to repeatedly and vigorously assert its rights under the forum-selection clause. [Rule
   56.1 Stat. ¶¶ 13-24]. Every one of Ford’s submissions to the Bolivian courts before which this
   case was brought sought one type of relief only: recognition of Ford’s contractual right not to be
   sued in any forum other than the one provided for in the GIDS Agreement. [Rule 56.1 Stat. ¶¶
   13, 14, 17, 18, 20, 21]. If ever a party acted consistently with its intent to have claims against it
   brought solely through arbitration, this is such a case. The notion that in addition to repeatedly
   asserting its right not to be sued in Bolivia Ford was also required to commence a defensive
   arbitration for declaratory relief is wholly unsupportable.
            Plaintiff’s waiver argument also appears to be based on a letter from Ford to Galindo,
   dated February 4, 2002, shortly after Ford terminated the GIDS Agreement and seven months
   prior to the commencement of the Bolivian litigation. [DE 32, p. 18; DE 32-2, p. 2]. The letter,
   portions of which are illegible, was a response by Ford to Galindo’s complaint about the
   termination of the GIDS Agreement and its threat of litigation. The relevant part to which
   Plaintiff cites reads as follow: “[illegible] was exception to the comments you made to Mr.
   Wendell and again I am surprised at your [illegible] use Ford’s funds to pay for your debts, this
   time through the threat of a lawsuit. I assure you [illegible] Motor Company will vigorously
   defend our decision and positions in court.” [DE 32-2, p. 2]. This is the slenderest of reeds on



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   which to hang a waiver argument. For one thing, Ford did precisely what it said it would do: it
   defended itself in court by asserting its rights under the forum-selection clause of the GIDS
   Agreement. For another, this does not by any stretch rise to the level of the type of substantial
   participation in litigation with the resulting prejudice to the other party that would warrant a
   finding of waiver. This is so especially given Ford’s immediate and consistent assertion of its
   rights under the forum-selection clause once the Bolivian action was commenced.
             6.    Plaintiff’s “Condition Precedent” Argument Is Baseless
            The final argument Plaintiff makes in its Response is that because the parties had not
   engaged in pre-arbitration negotiations provided for in the forum-selection clause, Ford is barred
   from asserting the exception to recognition under section 55.605(2)(e). [DE 32, pp. 18-19].
   Plaintiff is incorrect.
            Lacking any authority for its argument in the area of foreign-judgment recognition (there
   is none), Plaintiff cites two decisions that involved applications under the Federal Arbitration Act
   (“FAA”): (1) Kemiron Atl., Inc. v. Aguakem Int’l, Inc., 290 F.3d 1287 (11th Cir. 2002), to stay
   litigation pending arbitration; and (2) HIM Portland, LLC v. DeVito Builders, Inc., 317 F.3d 41
   (1st Cir. 2003), to compel arbitration. In both cases, courts held that pre-arbitration mediation
   was a condition precedent to arbitration and, having not been conducted, arbitration cannot be
   compelled or litigation stayed under the relevant provisions of the FAA.
            First, this recognition proceeding is not being brought under the FAA, which has its own
   specific standards, but under the Uniform Act.       Ford is not seeking to compel arbitration.
   Indeed, Ford has nothing to arbitrate, as it has no claims against Galindo to assert. It is Galindo
   who is asserting claims against Ford.       Nor is Ford seeking to stay litigation in favor of
   arbitration.
            Second, Plaintiff is misreading section 55.605(2)(e).    That statute provides for non-
   recognition of foreign judgments if “[t]he proceeding in the foreign court was contrary to an
   agreement between the parties under which the dispute in question was to be settled otherwise
   than by proceedings in that court.” The word “otherwise” is critical. Whether the GIDS
   Agreement calls (a) for arbitration or, as Plaintiff contends, (b) negotiation/mediation and then
   arbitration, in either case it is “otherwise” than litigation before the Bolivian courts. The point
   that Plaintiff is missing is that Ford is not objecting to the Bolivian judgment because Plaintiff
   did not file arbitration proceeding; it is objecting because Plaintiff commenced a Bolivian



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   litigation. Put differently, Ford is not enforcing its right to have Galindo’s claims against it
   submitted to arbitration; Ford is enforcing its right not to be sued in Bolivia.
            Third, the authorities cited by Plaintiff have been superseded by two Supreme Court
   decisions, most recently by BG Group PLC v. Republic of Argentina, 134 S. Ct. 1198 (2014).
   The issue of whether conditions precedent to arbitration are procedural matters reserved for the
   arbitrators or substantive matters to be dealt with by courts is one that has generated much case
   law. Kemiron was decided seven months before the Supreme Court’s decision in Howsam v.
   Dean Witter Reynolds, Inc., 537 U.S. 79 (2002). In Howsam, the Court held that procedural
   questions attendant to arbitration agreements – such as fulfillment of condition precedent – are
   not for the courts but for the arbitrators.      Quoting the recently enacted Revised Uniform
   Arbitration Act of 2000 (“RUAA”), the Court stated that an “arbitrator [not the court] shall
   decide whether a condition precedent to arbitrability has been fulfilled.” 537 U.S. at 85.
            In PTA-FLA, Inc., v. ZTE USA, Inc., No. 3:11-cv-510-J-32JRK, 2011 WL 5024647 (M.D
   Fla. Oct. 21, 2011), the court discussed Kemiron and HIM Portland, and explained Howsam’s
   effect on these decisions:
            [I]n a more recent Eleventh Circuit decision, Howsam is discussed. In Klay, the
            Eleventh Circuit explained that the Supreme Court [in Howsam] laid out the
            respective responsibilities of courts and arbitrators, absent an agreement to the
            contrary. Klay v. United Healthgroup, Inc., 376 F.3d 1092, 1107 (11th Cir.
            2004). It continued by stating that the Supreme Court adopted the approach
            embodied in the [RUAA] and held that issues of procedural arbitrability, i.e.,
            whether conditions precedent to an obligation to arbitrate have been met, are for
            the arbitrators to decide.

   Id. at *3 (quotation marks and some citations omitted). The PTA-FLA court further noted that
   the First Circuit also followed its decision in HIM Portland with Dialysis Access Ctr., LLC v.
   RMS Lifeline, Inc., 638 F.3d 367 (1st Cir. 2011), which likewise followed the holding of
   Howsam and held that pre-arbitration negotiation requirements are for the arbitrators to address.
            The issue came up again before the Supreme Court in BG Group, 134 S. Ct. 1198. The
   Court put any residual uncertainty to rest:
            [C]ourts presume that the parties intend arbitrators, not courts, to decide disputes
            about the meaning and application of particular procedural preconditions for the
            use of arbitration. See Howsam, supra, at 86, 123 S. Ct. 588 ….




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            [A condition precedent] determines when the contractual duty to arbitrate arises,
            not whether there is a contractual duty to arbitrate at all. Cf. 13 R. Lord, Williston
            on Contracts § 38:7, pp. 435, 437; § 38:4, p. 422 (4th ed. 2013) (a “condition
            precedent” determines what must happen before “a contractual duty arises” but
            does not “make the validity of the contract depend on its happening”).

   134 S. Ct. at 1207 (emphasis in the original). The Court specifically noted that pre-arbitration
   negotiation requirements fall within the category of conditions precedent to be dealt with by
   arbitrators, not courts. Id. at 1208.
            Thus, to the extent Plaintiff is arguing that the GIDS Agreement contains a condition
   precedent that has not been fulfilled, this issue is not for the Court but for the arbitrators. To the
   extent Plaintiff might be arguing that the arbitration provision is invalid for failure of a condition
   precedent, this is directly contrary to the holding in BG Group. The issue is, in any case,
   irrelevant. The FAA has no bearing on this action. The express language of section 55.605(2)(e)
   renders the Bolivian judgment non-recognizable because the GIDS Agreement requires the
   dispute “to be settled otherwise than by proceedings in [the Bolivian] court.” Accordingly,
   Plaintiff’s final argument similarly raises no genuine issue of material fact.
                                              CONCLUSION
            For the foregoing reasons, Ford is entitled to judgment as a matter of law and its motion
   for summary judgment should therefore be granted.
   Dated: January 14, 2015                           Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on January 14, 2015, I electronically filed the foregoing with
   the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served
   this day on all counsel of record or pro se parties identified on the attached Service List in the
   manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
   or in some other authorized manner for those counsel or parties who are not authorized to receive
   electronically Notices of Electronic Filing.
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                                     SERVICE LIST

                                Automotores Galindo, S.A.
                                           v.
                                  Ford Motor Company
                               CASE No.: 13-CV-23285-DPG


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